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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISON

ELIZABETH NELSON, et al.,
Case No. 2:23-cv-11597
Hon. Brandy R. McMillion
Plaintiffs, Mag. Judge Curtis Ivy, Jr.

-V-

ROBERT SCOTT |

(city of Warren MAINTENANCE DIVISION SUPERVISOR), JUL 15 2024
SERVICE TOWING, INC., ABLE TOWING, LLC, CLERK’S OFFICE
Et al., Defendants. DETROIT

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NOW COME plaintiffs NELSON, THROWER, pursuant to Fed.R.Civ.P.

26(aX(3)(A) and E.D. Mich. LR 26.3 and for their AMENDED Witness List, hereby
state the

following individuals and/or entities may be called as witnesses at Trial as follows:
1. Elizabeth Nelson. Po Box 1422 Warren MI 48090 3133197370

2. Albert Thrower. 1312 W. 89th Street, Cleveland, OH 44102. 2168566626

3. Bruce Hertz. Service Towing, Inc. 6006 Rinke, Warren, MI 48091. (586)
756-9500. Subjects: Service Towing and Able Towing as towing providers for the
City of Warren; requests for service on July 7, 2021 by Code Enforcement and/or

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WPD; removal of vehicles from 7568 Hudson; vehicle ownership per records;
payment and redemption of vehicles; removal of 2008 Honda Civic/2011
Chevrolet Silverado on 7/7/21; incident at 6006 Rinke on July 8, 2021; conduct of
Defendants; corporate structure of Service and Able.

4. Dennis L. Hertz. Service Towing, Inc. 6006 Rinke, Warren, MI 48091. (586)
756-9500. Subjects: Service Towing and Able Towing as towing providers for the
City of Warren; requests for service on July 7, 2021 by Code Enforcement and/or
WPD;; removal of a black 2008 Honda Civic Sedan from 7568 Hudson; ownership

of vehicle per records; and redemption of vehicles; removal of 2008 Honda Civic
on 7/7/21; incident at

6006 Rinke on July 8, 2021; redemption of 2008 Honda and costs and fees;
conduct of Defendant(s).

5. Dennis H. Hertz. Service Towing, Inc. 6006 Rinke, Warren, MI 48091.

(586) 756-9500. Subjects: Service Towing and Able Towing as towing providers
for the City of Warren; requests for service on July 7, 2021 by Code Enforcement
and/or WPD; removal of 2011 Chevrolet Silverado Pickup White vehicle from
7568 Hudson; ownership of vehicle per records; relationship to Defendants
Edward Hertz and Sandra Hertz and her relationship to businesses; incident

at 6006 Rinke on 7/8/21 and arrest of Mr. Thrower; redemption of 2011 Chevrolet
Silverado, costs and fees; corporate structure of Service and Able.

6. Curtis Gauss. City of Warren. One City Square, Warren, MI 48093.

Subjects: Inspeetions of 7568 Hudson and/or adjacent property (7560.

7. Frank Badalamente. City of Warren. One City Square, Warren, MI 48093.
(586) 574-4503, Subjects: Inspections of 7568 Hudson; and

administrative procedures.

8. Unidentified City of Warren Police Officers and/or Code Enforcement

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Officers serving on July 7, 2021 (involving 7568 Hudson, Warren, MI). Subjects:
request and order of Service/Able to remove vehicles from 7568 Hudson.

10. Pete Warack. City of Warren abatement procedure; status of Thrower/St.
Anthony’s property, including removal of vehicles on July 7, 2021.

11. Unidentified representative and custodian of the records, 37th District Court,
Warren, MI.

12. Everett Murphy. City of Warren. One City Square, Warren, MI 48093.
(586) 574-4662.

13. Kim Branson. 26600 Burg Road, Warren, MI 48089.

14. Brian Kijewski. City of Warren. One City Square, Warren, MI 48093. (586)
574-4662.

15. James Cummins. City of Warren. One City Square, Warren, MI 48093.
(586) 574-4662.

16. All past and present employees, agents, custodians of the records and/or
representatives of the City of Warren and all departments and subunits thereof,
including but not limited to the Warren Police Department and Property
Maintenance Department.

17. All past and present employees, custodians of the records and/or
representatives of Service Towing, Inc. and Able Towing, LLC.

19. Custodians of the records and representatives of the City of Warren,
Michigan Secretary Of State, Warren Police Department, Service Towing, Inc.,
Able Towing, LLC and the 37th District Court (in Warren, MI).

20. Any and all expert witnesses identified on Defendants’ witness list and/or
Defendant City of Warren’s witness list, as amended.

SANDRA HERTZ- knowledge of towing vehicles and redemption of same
including arrest of (P) Thrower in STI garage

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ALBERT THROWER- (P) will testify as to the facts of the case and conversations
overheard or spoken to Thrower & observations

ELIZABETH NELSON- (P) will testify as to the facts of the case and
conversations overheard or spoken to (P) NELSON & observations

RANDY AKA RANDALL Sullivan employee STI Towing- will explain how he
was told to stall (P) Thrower @ STI 7/8/21 and that this was per a pre-arranged
plan.

Brian Kijewski- city of Warren Property & Maintenance employee -will talk about
facts in complaint

James Reichling — city of Warren police Van Dyke substation- police officer

Joseph Bayura Jr- will testify that rear bumper is damaged-torn in two places after
examining under 2008 Honda and that said damage is consistent with towing car
from rear at an angle, and testify as to paint damage -

Michael Bischoff- will testify as observations

James Fouts- will testify as to his Facebook posts in re (P) Thrower and his state of
the city address targeting out of state landlords

Former city of Warren Police Commissioner James Dwyer

St John Hospital 29000 Center Ridge Road, Westlake, OH 44145 - (440) 847-9956
uhhospitals.org+ will testify as to ongoing injury to finger & treating physician

21. Any additional expert witnesses) necessary to rebut or refute the testimony

of additional experts identified by Defendants.

22. Any and all witnesses necessary to identify or authenticate any document,
record, video arid/or voice recording, text message or social media or tangible
thing or evidence.

23. All witnesses identified in any discovery response, document production,

deposition or exhibit attached to any pleading or motion.
24. Any necessary rebuttal witnesses.
25. All witnesses listed by any other party on their respective Witness Lists, as

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amended.

26) AMENDED WITNESS 911 OPERATOR AND RECORDING OF CALL
MADE BY (PT) WHEN (D) SCOTT ATTACKED HIM AT STI TOWING
GARAGE 7/8/21

Plaintiffs’ hereby reserve the right to amend their Witness List up through
Trial as additional witnesses may become known through discovery and as the
interests of justice may require.

I CERTIFY THE FOREGOING IS TRUE TO THE BEST OF MY

KNOWLEDG! Liban BELIEF
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Dated: July 15,2024

CERTIFICATE OF SERVICE
The undersigned hereby certifies that on the 10th day of July, 2024, I served

(1) the Service Towing Defendants AMENDED Witness List; thru Thomas
Stidman by placing said

documents into a sealed envelope addressed to each DEFENDANT EMAIL &
USPS envelopes into the U.S. First Class Mail,

postage prepaid, and further served the foregoing documents upon
counsel of record for all other parties by their sending to their respective e-mail

addresses through the ECF system; including Rachel Selina at her address with
tracking attached

Thomas H. Stidham (P56504)
Jennifer Mead (P57106)

Co-Counsel for Service Towing, Inc.
Rachel Selina

Mark Steadman

